Form osprtcon
                                    UNITED STATES BANKRUPTCY COURT
                                          Southern District of Alabama

In Re: Nova Security Group, Inc.
Debtor
                                                                  Case No.: 16−00370
                                                                  Chapter 11
NOVA SECURITY GROUP, INC.

     Plaintiff(s)

v.                                                                Adv. Proc. No. 17−00052

NOVA ELECTRIC IMMOBILIZATION DEVICES, PLC

     Defendant(s)
                                                                  Judge: HENRY A. CALLAWAY

                               ORDER SETTING SCHEDULING CONFERENCE

     Notice is hereby given that a scheduling conference in the above−styled adversary proceeding is set before the

undersigned bankruptcy judge on:

Date: 9/19/17

Time: 09:00 AM

Location: Courtroom Two, 201 St. Louis Street, Mobile, AL 36602

All parties or their attorneys must attend.

The parties should have their calendars at hand and be prepared to discuss the matters set out in Fed. R. Civ. P.

16(c)(2), including discovery, trial setting, alternative dispute resolution, and consent to the bankruptcy court's

entry of a final order. The parties are excused from preparing a discovery plan under Fed. R. Civ. P.26(f).

Unless otherwise ordered, the parties may not seek discovery from any source until after the pretrial conference,

and responses to any discovery propounded before then are not due until 30 days after the pretrial conference.


Dated: 7/31/17




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